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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

ROBERT CRAFT,                                        )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )       Case. No. 23-1081-JAR-GEB
                                                     )
JACOB TOWNSEND, et al.,                              )
                                                     )
               Defendants.                           )
                                                     )

                 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
                      FOR A MORE DEFINITE STATEMENT

       Defendants Jacob Townsend, John Linneman, Teresa Glendening, Hazel Peterson and

Joel Hrabe (“Defendants”) submit this response to Plaintiff Robert Craft’s Motion for a More

Definite Statement (Doc. 24). Defendants request that the Court deny the Motion and state the

following in support.

       A motion for a more definite statement only applies to “a pleading to which a responsive

pleading is allowed.” Fed. R. Civ. P. 12(e). Here, Defendants’ Motion to Dismiss (Doc. 19) is

not a “pleading,” so a motion for a more definite statement is inappropriate. Fed. R. Civ. P. 7

(contrasting the enumerated “pleadings,” such as “a complaint” and “an answer to a complaint,”

with “motions”); Fed. R. Civ. P. 12(b) (a motion to dismiss “must be made before pleading,”

necessarily meaning a motion to dismiss is not a “pleading”); see also Airtex Mfg. LLLP v.

Boneso Bros. Constr., Inc., No. 19-2269-CM, 2019 WL 6715411, at *3 (D. Kan. Dec. 10, 2019)

(saying a motion for a more definite statement is even ordinarily inappropriate with regard to an

answer apart from sections about counterclaims).

       Craft’s Motion, falling outside the scope of Rule 12(e), is effectively an interrogatory,

demanding that the Defendants’ answer a sixteen-page litany of questions. (See Doc. 24 at 3-18.)
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Discovery, including interrogatories, is inappropriate at this stage of litigation. See Fed. R. Civ.

P. 26(d)(1) (“A party may not seek discovery from any source before the parties have conferred

as required by Rule 26(f)”); see also 5C Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 1376 (3d ed. Apr. 2023 update) (“The purpose of Rule 12(e) is to

permit litigants to procure information needed to frame a responsive pleading, not as a substitute

for discovery”). Even if it was appropriate, many of Craft’s questions seek the inner thoughts of

Defendants’ attorneys on purely legal matters, which are not discoverable. Steil v. Humana Kan.

City, Inc., 197 F.R.D. 445, 447 (D. Kan. 2000) (“interrogatories may not extend to issues of

‘pure law’”); Hickman v. Taylor, 329 U.S. 495, 510 (1947) (“Not even the most liberal of

discovery theories can justify unwarranted inquiries into . . . the mental impressions of an

attorney.”). And most of the questions would also be subject to objection, such as

“argumentative” or “vague and ambiguous.” See 7 Cyclopedia of Federal Procedure § 25:341 (3d

ed. July 2023 update). In substance, Craft’s “Motion for a More Definite Statement” is an

improper interrogatory seeking to discover undiscoverable information from Defendants.

          Craft’s Motion for a More Definite Statement is misplaced. The proper avenue for Craft

to express a belief that Defendants have not sufficiently made their case would have been

through a response. 1 For these reasons, the Defendants request that the Court deny the Motion.




1
    Craft also filed a Response (Doc. 27), which the Defendants will respond to separately.


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                                             Respectfully submitted,

                                             OFFICE OF ATTORNEY GENERAL
                                             KRIS W. KOBACH

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger, KS No. 28151
                                             Assistant Attorney General
                                             Milesha N. Segun, KS No. 28290
                                             Assistant Attorney General
                                             120 SW 10th Avenue, 2nd Floor
                                             Topeka, Kansas 66612-1597
                                             matt.shoger@ag.ks.gov
                                             milesha.segun@ag.ks.gov
                                             (785) 296-2215
                                             Fax: (785) 291-3767
                                             Attorneys for the Defendants




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of June, 2023, the foregoing document was filed with
the clerk of the court by using the CM/ECF system, which will send notice of electronic filing to
the following:

       Robert Craft
       209 N. Oak Street
       Stockton, KS 67669
       craft.kdoc@gmail.com
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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